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                         IN THE UNITED STATES DISTRICT COURT                                11/12/2020
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

  JOHN DOE,                                             )
                                                        )
                                 Plaintiff,             )
                                                        )
  v.                                                    )        Civil Action No. 6:19-cv-00023
                                                        )
  WASHINGTON AND LEE UNIVERSITY,                        )
                                                        )
                                 Defendant.             )


                                                   ORDER

         The Court previously permitted the parties to file supplemental submissions with

  proposed redactions. Dkt.63. The parties filed proposed redactions for their exhibits in support of

  and in opposition to Defendant’s motion for summary judgment. Dkts. 73, 74, 75. The Court has

  reviewed these exhibits and finds these redactions to be narrowly tailored and appropriate in this

  case. Accordingly, the Clerk is DIRECTED to permanently seal docket entries 65, 66, and 68.

  The redacted exhibits filed by the parties shall remain publicly filed.


                                                        Entered: November 12, 2020


                                                        Robert S. Ballou
                                                        Robert S. Ballou
                                                        United States Magistrate Judge
